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                   IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE: BLONDELL P. TUTWILER                           CASE NO. 18-12412-NPO
                                                      CHAPTER 7
______________________________________________________________________________

RESPONSE TO MOTION FOR BANKRUPTCY RULE 2004 EXAMINATION (DKT#33)
______________________________________________________________________________

       COMES NOW, Debtor, Blondell P. Tutwiler, by and through undersigned counsel, and files

this response to creditor, Annie Border-Blackwell, as Executrix of the Estate of Julia Tutwiler

Borders, Deceased’s (Creditor) Motion For Bankruptcy Rule 2004 Examination [Docket No. 33] in

the above referenced case; and in support thereof would state unto the court as follows to-wit:

       1.      That Debtor filed a petition on or about June 21, 2018, for relief under Chapter 7

               of the Bankruptcy Code.

       2.      A specific cause for the Motion for Bankruptcy Rule 2004 Examination must be

               shown to the Court and Creditor has not given any detailed explanation as to why

               they are requesting a Rule 2004 Examination.

       WHEREFORE, PREMISES CONSIDERED, the Debtor requests that creditor, Annie

Border-Blackwell, as Executrix of the Estate of Julia Tutwiler Borders, Deceased’s Motion For

Bankruptcy Rule 2004 Examination [Docket No. 33] be denied.

       RESPECTFULLY SUBMITTED, this the 16th day of October, 2018.

                                                     BLONDELL P. TUTWILER, DEBTOR

                                                     BY:/s/Gwendolyn Baptist-Rucker
                                                     Gwendolyn Baptist-Rucker, MSB#10855
                                                     Attorney at Law
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                                CERTIFICATE OF SERVICE

        I, Gwendolyn Baptist-Rucker, Attorney for the above listed Debtor, do hereby certify that
the following have been served electronically via ECF the above Response to Motion for
Bankruptcy Rule 2004 Examination to:

US Trustee
USTPRegion05.AB.ECF@usdoj.gov

Jeffrey A. Levingston
jleving@bellsouth.net

Annie Borders-Blackwell, as Executrix
of the Estate of Julia Tutwiler Borders, Deceased
c/o Attorney Jeff D. Rawlings
Rawlings & Macinnis, P.A.
Post Office Box 1789
Madison, MS 39130-1789
jeff@rawlingsmacinnis.net

This the 16th day of October, 2018.

/s/Gwendolyn Baptist-Rucker
Gwendolyn Baptist- Rucker MSB#10855
Attorney at Law
1305 Church Road East
Southaven, MS 38671
(662) 349-9179
